Case 24-04020-btf Doc17-1 Filed 01/06/25 Entered 01/06/25 13:03:26 Desc
Exhibit Page1of5

UNITED STATES BANKRUPTCY COURT
FOR THE WESTERN DISTRICT OF MISSOURI

In re:
Bankr, Case No.: 23-41334-btf7
GARY PAUL WELLNER,
Chapter 7
Debtor,

GARY PAUL WELLNER, Adv. Proc. No.: 24-04020-btf

Plaintiff,
Vv,

EARNEST OPERATIONS, LLC, and
NAVIENT CORPORATION,

Defendants.

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STIPULATION IN SETTLEMENT OF ADVERSARY PROCEEDING BETWEEN
PLAINTIFF AND NAVIENT SOLUTIONS, LLC

Plaintiff, Gary Paul Wellner (“Plaintiff”), and Navient Solutions, LLC (“NSL”), on
behalf of itself and named defendants Earnest Operations, LLC (“Earnest”) and Navient
Corporation, by and through their undersigned counsel, hereby stipulate as follows: —

1, On September 27, 2023, the Plaintiff filed a voluntary petition for relief under
Chapter 7 of the United States Bankruptcy Code. A discharge of eligible debts was entered on

January 22, 2024,

2. On October 17, 2024, the Plaintiff filed a Complaint naming Earnest and Navient
Corporation as defendants, seeking a discharge of educational loan debt under 11 U.S.C. §
523(a)(8).

3, On November 18, 2024, NSL filed its Answer to the Plaintiffs Complaint.

Case 24-04020-btf Doc17-1 Filed 01/06/25 Entered 01/06/25 13:03:26 Desc
Exhibit Page 2of5

4, The Plaintiff is indebted to NSL pursuant to the applicable terms of one (1)
educational loan Promissory Note (“Promissory Note”), executed by the Plaintiff to obtain an

educational loan (“Student Loan”), and initially disbursed on or about July 8, 2021.

5, As of the filing of this adversary proceeding, there was a balance duc and owing
under the Plaintiff’s Promissory Note, including principal and interest, in the aggregate amount
of approximately $48,640.13 (“Outstanding Balance”), with a fixed interest rate, and with

interest accruing thereafter pursuant to the Promissory Note.

6. ' The Outstanding Balance is currently duc and owing on the Promissory Note and
the Student Loan evidenced by the Promissory Note is a non-dischargeable educational loan,
pursuant to 11 ULS.C. § 523(a)(8),

7. For so long as the Plaintiff does not default under this Stipulation, the Outstanding
Balance shall be reduced to $20,000.00 (“Reduced Balance”), and the interest rate shall be
reduced to a fixed rate of 1% (“Reduced Interest”), and the Plaintiff shall repay the Reduced
Balance at the Reduced Interest rate as follows: $91.98 per month for a period of two hundred
and forty (240) consecutive months. The first monthly payment is due to be received by NSL on
or before June 3, 2025, with subsequent payments to be received on or before the third (3°) day
of each month thereafter.

8, All payments pursuant to this Stipulation shall note the Plaintiffs ten digit
account number, ******3740 (redacted here for privacy reasons) on the payment and shall be
mailed to, “MOHELA Specialty Loan Servicing, PO Box 2509, Wilkes Barre, PA 18706,” or to
any other address provided to the Plaintiff by NSL/Earnest or MOHELA in writing.

9. The following shall be Events of Default hereunder: (a) the Plaintiff shall fail to

make any payment due hereunder within thirty (30) days of the due date without securing

Case 24-04020-btf Doc17-1 Filed 01/06/25 Entered 01/06/25 13:03:26 Desc
Exhibit Page 3of5

NSL/Earnest or MOHELA’s agreement to a forbearance of such payment(s); or (b) the Plaintiff
commences any further legal proceedings against NSL, MOHELA, Earnest, or their
predecessors, successors or assigns, seeking to discharge debt.

10, Upon the occurrence of an Event of Default under this Stipulation, pursuant to
Paragraph 9(a) of this Stipulation, a one-time default penalty equal to 15% of the remaining
unpaid Reduced Balance at the time of default may be assessed against the defaulted account as
an additional non-dischargeable sum, pursuant to 11 U.S.C. §523(a)(8).

11. Upon the occurrence of an Event of Default under this Stipulation, pursuant to
Paragraph 9(b) of this Stipulation, any discharge of the principal and interest is revoked, and the
Plaintiff will be liable for the full amount of the Outstanding Balance, as referenced above, plus
interest pursuant to the applicable terms of the Promissory Note for the Plaintiff's Student Loan
(less any payments made hereunder which, following default shall be applied first to interest that
would have accrued had this Stipulation not been in effect, and then to principal),

12.‘ There is no penalty for prepayment under this Stipulation but any prepayment,
unless it is payment in full, does not relieve the Plaintiff of the obligation to make ongoing
monthly payments.

13. Inthe event the Plaintiff, pursuant to applicable NSL policy and the terms of the
Promissory Note, qualifies for, or the parties agree to, any deferment or forbearance of payment
obligations, after this Stipulation is approved, interest will continue to accrue during the time of
any such deferment or forbearance, at the interest rate stated herein, so that the total amount to be
repaid, and the monthly payments required, may increase from that stated herein.

14, Should any issues arise, related to billing or repayment of the loan subject to this
agreement, wherein the Plaintiff believes that billing or collection efforts related to the loan

subject to this agreement is not in accordance with this Stipulation, the Plaintiff agrees that such

Case 24-04020-btf Doc17-1 Filed 01/06/25 Entered 01/06/25 13:03:26 Desc
Exhibit Page 4of5

issues should be directed to a Supervisor or Manager in NSL’s Bankruptcy Litigation Unit (as of
this writing, Ms. Petra Shipman), who may be reached at 1-800-251-4127, or to any other
telephone number provided by NSL in writing, or in response to a specific borrower inquiry.
The parties understand that any such communications, if not directed as specified in this
Paragraph, may not be addressed in a timely manner, or in a manner specifically in accordance
with this Stipulation.

15. Except as provided in this Stipulation, all other terms of the Promissory Note
remain in effect and are hereby incorporated by reference.

16. Any amendment, modification, or waiver of any term or condition of this
Stipulation must be made in writing and signed by all parties hereto.

17. This Stipulation may be executed in counterparts, or by facsimile, each of which
shall constitute an original, but all of which together shall constitute one and the same
Stipulation.

18. The parties agree to the dismissal of the instant adversary proceeding, subject to

the terms of this Stipulation, upon approval of this Stipulation by the court.

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Case 24-04020-btt

Exhibit Page5of5

Doc 17-1 Filed 01/06/25 Entered 01/06/25 13:03:26 Desc

WHEREFORE, the parties pray this Honorable Court for an Order approving this

Stipulation and dismissing the instant adversary proceeding,

By:

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‘Ryan A. Blay/!MO #KS0010666; KS #28110

15095 W, 116th St,

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~ Millsap & Singer, LLC fo
— | Civ “ Dated:

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